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                                UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF COLORADO

 IN RE:                                                         )
                                                                )        Case No. 24-12624-KHT
 DNC AND TCPA LIST SANITIZER, LLC                               )
 EIN: XX-XXXXXXX                                                )        Chapter 11
                                                                )        Sub-Chapter V
            Debtor                                              )

                      ORDER MODIFY FEBRUARY 12, 2025 MINUTE ORDER

       UPON CONSIDERATION of the Motion to Modify February 12, 2025 Minute Order (the
 “Motion”), 1 and for cause shown, the Court does hereby

            ORDER THAT:

                1. That the Motion is GRANTED.

               2. The Debtor shall serve the Amended Plan, a Ballot and the Minute Order on March
     2025 via U.S. Mail and the Ballot shall be emailed to the parties who attended the February 12,
     2025 hearing.


 Dated March, 202.                                           BY THE COURT


                                                                __________________________________
                                                                Honorable Kimberley H. Tyson
                                                                United States Bankruptcy Judge




 1
     Capitalized terms not defined herein shall have the meaning ascribed to such terms in the Motion.
